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                                                                                         Ex. 1
Welcome to
Election Worker
Training



   Please turn off cell phones
   Please, no drinks (inc. Water) on the tables
   Restrooms through the left door at the back of the room
   This is training Class XX A
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CONSOLIDATED
NOVEMBER 3, 2020
  GENERAL
  ELECTION
                                             NOV 3, 2020
ELECTION COORDINATOR TRAINING
       ELECTION BASICS

                                            Election Passcode:
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CHECK YOUR REGISTRATION!
 Everyone should check their
  registration at:
         VoteFresnoCounty.com
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               SOCIAL MEDIA
 Fresno County Clerk’s Social
  Media – follow us today!
   Facebook: VoteFresnoCounty
   Instagram: VoteFresnoCounty
   Twitter: @VoteFresnoCo

Do NOT use social media on Election Day!
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                          TOPICS
 Vote Center                                   Accessibility
  Processes                                     Language Support
 Opening                                       Observers
 Voting                                        Cleanliness and
 Closing                                        Safety
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 WHAT IS A VOTE CENTER
 In-person assistance for Voters
 Drop-off Ballots
 In-person Voting


 Anyone may vote, at any Vote
  Center in the county
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ELECTION ASSIGNMENTS
  Election Coordinators
    Lead, train, and participate
  Election Workers
    Voter Check-in
    Ballot Printing
    Voting Assistance
    Vote Center Maintenance
  Volunteers
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ELECTION ASSIGNMENTS
  Election Coordinators
    Election Coordinator A
    Election Coordinator B
    Organize and train the Vote
     Center staff
    Answer questions
    Provide support/training
    Know when to ask for help
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  EXAMPLE VOTE CENTER –
SELMA NEIGHBORHOOD RESOURCE CENTER
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EXAMPLE VOTE CENTER –
 HAMILTON GYMNASIUM
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       HAMILTON GYMNASIUM
          VOTE CENTER

Mobile Ballot
Printing Stations
Check-in Stations
ICX Touchscreens
ICE Tabulator
Exit
Entrance
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  EQUIPMENT DELIVERY
Early Set-up
 A company will deliver all Vote Center
  materials in the three days prior to your
  Vote Center opening
 Teams of Election Coordinators and IT
  staff will check-in materials and set-up the
  Vote Center
 Physical arrangement of the
  room – use the WHITE SET-UP
  BINDER
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  EQUIPMENT DELIVERY
Early Set-up
 Testing of equipment
     IT will lead this portion of the process
 Most locations will leave most items in
  place for Election Day
 Some locations will need to store ALL
  materials until Election Day
 ALL locations need to re-pack Laptops
  and paper
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    EQUIPMENT CART
Secure transport and
storage
Holds all necessary
equipment for a
Standard Vote Center
 Larger locations may
  have two Carts
Store vital equipment
and materials at night
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 EACH MORNING - BEFORE
       OPENING
Follow your Opening Check List !
Sign required paperwork
Set up voting equipment
Set up Vote Center Interior
 - Election Day Table                              - Language Table
 - Election Information Kiosk                      - Voting Booths
Set up Vote Center Exterior
Wear your name tag!
 Remember bilingual name tags
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     BEFORE OPENING
If you need help setting up, CALL!
IT assistance (559) 600-3028
Other assistance (559) 600-7353
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SIGN THE DECLARATION
Each Vote Center will be provided
a Declaration/Staff Roster each day
All election workers MUST sign –
every day
This Declaration doubles as your
payroll sheet
The signed Declaration is
returned EVERY night
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IMAGECAST EVOLUTION TABULATOR

Position the ICE Tabulator as directed
Maintain a secure area around the ICE
Make sure the ICE is always plugged
in
Verify that the ballot box
is sealed
Verify all seals are secure
Turn on the ICE
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     EQUIPMENT CART
Unlock
Remove Laptops and
distribute
Remove Ballot paper
(ICX and MBP) and
count
Should always be
under staff control and
secure
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              IMAGECAST X
         BALLOT MARKING DEVICES

Maintain a secure area around the ICX
booths/equipment
Make sure an ICX is always
plugged into the UPS battery
Verify all seals are secure
Retrieve blank paper from
the Equipment Cart
Turn on the ICX tablets
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  ELECTION DAY “TABLE”
Check-in Station:
 - “Provide Your Name/Address” Sign
 - Check-in Laptops               - Dymo Printers
 - Roster Pages                   - Accessibility Materials
 - Procedures Card
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     ELECTION DAY “TABLE”
Printing Station:
 -   Printer                                        - Laptop
 -   Procedures Card
 -   Secrecy Sleeves
 -   Envelope A
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  ELECTION DAY “TABLE”
CVR Station:
 - Check-in Laptops                               - Dymo Printers
 - CVR Envelopes                                  - Provisional Envelopes
 - CVR/Provisional Roster                         - Important Forms
 - Procedures Card
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 TEST YOUR PRINTERS!
Every Check-In and CVR station
should test their Dymo printer
Every active Ballot Printer
should print a Sample Ballot
Every ICX Printer should run
a printer test
Any used ballot PAPER should be
marked SPOILED and put in Envelope A
If there is an Issue, call IT Trouble Desk at
(559) 600-3028
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        LANGUAGE TABLE
ALL Spanish support materials
Ballot Translation Guides and
Signage
1 Language
Table per
Vote Center
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ELECTION INFORMATION STAND
Black Canvass With
Pockets
Place between the entry
door and the Election Day
Table
One per Vote Center
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 VOTE CENTER EXTERIOR
New Voter Center Flags
1 Exterior Election
Information Kiosk per Vote
Center
Directional Signs
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SET UP ACCESSIBILITY MATERIALS
All Vote Centers need to maintain clear
paths of travel, inside and out
Very few Vote Centers will get mitigation
materials – but you must use them as
directed in the WHITE SETUP BINDER
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7:00 AM Election Morning
         (9:00am on prior Days)
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    ASSISTING OFFICER
 Greet the Voter
 Triage the Voter
   Registered voters go to Check-in
     stations
   Unregistered voters        go to
     CVR station
 Collect completed
  VBM Ballots
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      CHECK-IN OFFICER
 Greet the Voter
 Ask the Voter to provide their
  name & address
 Enter the Voter’s information
  into DFM Lite
   Confirm with their date of Birth,
    if needed
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       CHECK-IN OFFICER
Voter Found:
Verify a ballot has
                                                     A voter is NOT required to
  not been returned                                  surrender their Vote by Mail

Ask if they would

                                                    ballot to be issued a live ballot
                                                           (non-provisional).
  like their ballot for
  “Here” or “To Go”

 In the web application:
     Ballot for “Here”: Select
     Ballot “To Go”: Select
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   CHECK-IN OFFICER
For Here:




                                    
                                     Take the loose label
                                      with you to the ballot
                                           printer
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   CHECK-IN OFFICER
To Go:




                                    
                                     Take the loose label
                                      with you to the ballot
                                           printer
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       CHECK-IN OFFICER
Voter Address Incorrect:
 Provide the short re-registration form to
  the voter and update the voter’s
  information, use
Voter Not Found:
 The voter must complete the CVR
  process
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        CHECK-IN OFFICER

REMEMBER: You will have access to private voter
information. Any unauthorized sharing of a voter’s
personal information will may result in immediate
dismissal and possible legal action.
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         CHECK-IN OFFICER

 Ask every voter if they would
  like:



   Traditional Paper           Touchscreen


                     OR
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        CHECK-IN OFFICER
   Enter the precinct number under Activation Code
    (from label)
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       CHECK-IN OFFICER
   Click on the row with the selected precinct from
    the label. It will highlight in red.
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        CHECK-IN OFFICER

 Click the Print icon





 From the Printer Setting screen, click Print
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       CHECK-IN OFFICER
Once the ballot prints:
  VERIFY the ballot precinct number matches
       the precinct number on the label



QUEUE UP PRINT JOBS – you don’t have to wait for a ballot to
       finish printing before printing the next ballot!
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        CHECK-IN OFFICER

Ballot for Here “Traditional”:

 Adhere one Label (MUST HAVE BARCODE) to
  Roster Sheet

 Voter must sign &
  date below their label




                                                ]Éx iÉàxÜ     FBFBEC
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         CHECK-IN OFFICER

Ballot for Here “Traditional”:
 Hand ballot to voter in a secrecy
  sleeve
 Direct voter to voting booths
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        CHECK-IN OFFICER

Ballot for Here (ICX touchscreen):
 Adhere one Label (MUST HAVE BARCODE) to
  Roster Sheet
 Voter must sign & date below their label
 Hand extra label to ICX Officer, give voter
  a small secrecy sleeve, direct voter to
  ICX Officer
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                      ICX OFFICER
Assist voters using the touchscreen:
 Activate the proper precinct ballot using the label
  given to you by the Ballot Officer
 Provide the voter with instructions
  on the use of the ICX
 Assist the voter if they ask any
  questions or request assistance
 Make sure the voter uses their
  secrecy sleeve
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     ICX/ASSISTING OFFICER
If the voter makes a mistake:
 Print ‘SPOILED’ across their ballot card(s)
 Print (traditional) or Access (ICX) a new ballot
 Verify new ballot precinct against Spoiled ballot
 Place spoiled ballot card into Envelope A
 Hand the voter the new ballot
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       ASSISTING OFFICER
Assist voters at the ImageCast Evolution Tabulator

Only Ballots in secrecy sleeves go into
the ImageCast Evolution!

Direct voters with completed CVR,
Provisional ballots, or any folded ballot to
the CVR Officer

Hand out “I Voted” Stickers
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       ASSISTING OFFICER
Just dropping off a VBM Ballot :
 Verify envelope is signed

 Deposit in VBM Ballot Box or
  Purple VBM Ballot Box


 If they do not have their purple
  envelope, they must complete
  a white replacement Vote by
  Mail envelope.
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 VOTER NEEDS ASSISTANCE
 Voter must declare under
  oath that they are unable
  to mark their ballot

 Voter may have up to 2
  people assist with
  marking their ballot

 Persons assisting a voter
  must complete the List of
  Voters and Persons
  Assisting Voters
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       CURBSIDE VOTING
 Get the voter’s identifying
 information (name, address,
 maybe Date of Birth)
 Ask the voter if they want a ballot
 for “here” or “to go”
 Look up the voter in DFM Lite, use the
 appropriate issue command
 Give labels to Ballot Officer and Printing
 Officer to generate ballots
 Take the ballot and blue roster to voter, voter
 must sign prior to being given ballot
 Return the Ballot to the ICE or Yellow CVR
 Ballot Box
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          INACTIVE VOTER
 Election material returned by post
  office as undeliverable with no
  forwarding address
 Other questions regarding Voter
  address

Note: Inactive status does NOT
disqualify a Voter from voting
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               PROCESSING AN
               INACTIVE VOTER
 If the Voter’s address matches DFM Lite, click
  the         button. The voter will be marked
  with a Yellow light, hit the   button. Issue
  ballot as desired by voter.

 If the Voter’s address does not match the
  address printed in the roster, and it is still
  within Fresno County, provide the voter an
  address change form and update the address
  using the         button.
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  NO MORE STREET INDEX
 The Electronic Roster means that
  Election Workers no longer need to
  maintain the yellow Street Index
 This information is available and
  you may receive questions about
  Roster/Voting information
   Direct interested parties to
        (559) 600-VOTE
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VOTE CENTER MAINTENANCE
 Maintain COVID-19 Procedures
 Every hour or so:
     - Cleanup voting booths
     - Pickup stray Voter receipts/trash
     - Check on the Election Information Kiosk
     - Check on exterior directional signs/flags
 Double check that Accessibility
  Mitigation materials are still in place
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 INCIDENT REPORT PROCESS
 Incidents should be reported to the
   Elections Office as soon as possible
   Ballots walking away
   Damage to equipment
   Harassment
   Election Worker Issue
 Call (559) 600-1620
 IF you feel personally threatened,
   call 911
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8:00 P.M. Election Night
       (5:00 pm on prior Days)
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      VOTERS IN LINE
       AT CLOSING
• Process all Voters standing in line
  at Closing (8:00 PM on Election
  Day)
• Position one Election Worker at
  the end of the line
• Do NOT rush any Voter
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 CLOSING PROCEDURES
 Each day use the Closing Procedures
  Checklist
 Must:
   Shutdown ICE, ICXes, MBP and
    Laptops
   Count and Seal all ballots for pick-up
   Account for all paper used
   Secure sensitive equipment
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 IC EVOLUTION SHUTDOWN
Every night:
 Record the number of ballots cast on the
ICE
 Break the seal on the ballot
box
Remove the ballots from the
black Ballot Box and Seal in a
cardboard box with a Blue Seal
Log the quantity of ballots
Close and Re-seal the Ballot
Box
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SECURE VOTED BALLOTS
                     (BLUE SEAL)


                                              3/3/20


                                                42


                                                  98



                                             Lois Lane



                                            Tony Stark
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IC EVOLUTION SHUTDOWN
On any day that is not Election Day:
 Power off the ICE by pressing the
  power button in the top right of the
  screen
 Close up the ICE unit, including
  unplugging and putting away the
  power cord
 Store the ICE with the Equipment Cart
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 IC EVOLUTION SHUTDOWN
On Election Day ONLY:
 Close the Polls as directed in the
handbook
Two copies of the result tape will print
Vote Center Staff will sign the first
printed copy of the closing results
Vote Center Staff will tear off the second
copy of the closing results and attach it
to the Certificate of Performance
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 IC EVOLUTION SHUTDOWN
On Election Day ONLY:
Break the seal on the CF1 memory card
door
Remove the CF1 memory card and place it
Orange transport pouch
for collection
This card will be collected
by the Retrieval Team
Do NOT touch any
other seal
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                   ICE MEMORY CARD
                    RETRIEVAL TEAM

• ICE ballot tabulator memory card
  will be picked up by a retrieval team.
• They will be on site at 8:00 pm
  Election Day
• Do Not let them rush you
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                CERTIFICATE OF
                PERFORMANCE
• Attach the
  second copy of
  the ICE tape
• Post for 48 hrs.
• One copy per
  Vote Center,
  Election
  Coordinator is
  responsible for
  completion and
  posting
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SIGNATURES IN ROSTER
                                           
                                         
                                           
                                         
                                                       Signatures must be
                                                       accounted for EVERY
                                                       night.

                                                       Discrepancies between
 ]Éx iÉàxÜ    FBDBECEC      ]Éx iÉàxÜ   FBDBECEC
                                                       the signature count and
                                                       ballot count on the ICE
                                                       must be reconciled
                                                       each night.



  ]Éx iÉàxÜ   FBDBECEC
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          ICX SHUTDOWN
Insert the Poll Worker Card and Log In
 Enter the password
 Press “Close Polls” and confirm
 Press power button at bottom right, choose
  “Power Off”

Unplug the ICX and Printer
Remove the Unused ICX paper and secure
it with a green seal – place the sealed box
back in the Equipment Cart
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          UNUSED PAPER
                  (GREEN SEAL)


                                                                         42


  643                                    Lois Lane               Clark Kent


 1258                                   Bruce Wayne              Tony Stark


                                                                  3/1/20




                   One or the Other, but never both
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      CLOSING THE
    CHECK-IN LAPTOPS
If this is not Election Day
Shutdown the Check-In
and CVR laptops
ALL laptops must be
secured in the Equipment
Cart each night
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      CLOSING THE
    CHECK-IN LAPTOPS
On Election Day ONLY:
Shutdown the Check-In and CVR
laptops
ALL Check-In and CVR equipment
must be returned to the Equipment Cart
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  MBP PRINTING STATION
If this is not Election Day
Shutdown the MBP station
Remove and secure the unused MBP
paper with a Green Seal
Place the unused MBP paper and the
MBP Laptop in the Equipment Cart
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  MBP PRINTING STATION
On Election Day ONLY:
Shutdown the MBP station
Remove and secure the unused MBP
paper with a green Seal
Place the MBP laptop and Printer,
along with the unused MBP paper,
into the Equipment Cart
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     EQUIPMENT CART
All laptops must be returned to the
Equipment Cart each night
All ballot paper must be returned to the
Equipment Cart each night
Equipment Cart must be locked and
securely stored each night
ALL materials that came in the
Equipment Cart must be stored in the
Equipment Cart on Election Night
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     ICE WOULD NOT READ



                                           1




This should be returned every night, even if there are no ballots
inside.
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 CVR & PROVISIONAL BALLOTS

• The Yellow
  CVR/Provisional Ballot
  Bag must be sealed and
  returned each night
• Record on the cover
  sheet how many
  CVR/Provisional
  Signatures there were
  that day in the
  CVR/Provisional Roster
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   VOTE BY MAIL BALLOTS
All Vote by Mail ballots
should be removed from
the White VBM Ballot Box
and placed in the Purple
VBM Ballot Box (on wheels)
Count all VBM ballots and
record the number on the
purple coversheet
Seal the Purple VBM Ballot
Box for pickup each night
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               ENVELOPE “A”
                                                            20

                                                                        3


                                                                        0
   Lois Lane
                                                                        3
 Clark Kent
 Bruce Wayne
                                                                        6
 Tony Stark
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              NIGHTLY LOGS
Blue Roster Binder
  Blue Roster Signature Log
  Unused Paper Log
  Ballot Log
Yellow Roster Binder
  Yellow Roster Signature Log
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          NIGHTLY PICKUP
Voted Ballots (blue sealed Cardboard Box)
Purple VBM Ballot Box
Yellow CVR/Provisional Ballot Box
Large Plastic Bag w/
  Blue and Yellow Roster pages with Signatures
   (separately bound with circle rings)
  Ballots the ICE Would Not Read (manila Envelope)
  Envelope A
  Declaration/Payroll Sheet
  Small Plastic bag with broken Seals

ICE Memory Card (Election Night Only – picked
up by a special team after close of polls)
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   VOTE CENTER CLEANUP

 Cleanup the Voter Center – Leave it
  better than you found it
 Take down non-permanent exterior
  materials
     - Some Directional Signs                                 - Info Kiosk


 Make sure the Equipment Cart and ICE
  are secure.
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   VOTE CENTER CLEANUP
 Reminder! Post the Certificate of
  Performance (Election Night Only)

 Take down all exterior materials
     - Signs               - Flags                - Info Kiosk
 Take down Voting Booths
 Store all materials for Pick-up right after
  Election Day
 Cleanup the Voter Center – Leave it better
  than you found it
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   EQUIPMENT PICK-UP
All stored equipment will be picked
up within three days of the Election
 Similar to delivery, teams will be
  established
 1-2 hours, at a set time
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              EXPECTATIONS
 Follow election codes &
  procedures
 Protect the Voter’s right to cast a
  secret ballot free from intimidation
 Treat all Voters equally
 Be sensitive to Voters needs
 Provide a positive voting
  experience
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             EXPECTATIONS
 Conduct yourself in a
   professional and respectful
   manner
   Dress business casual
   No cellphones/electronic
     devices
   Be polite to each other
   Be respectful to Voters
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       EC EXPECTATIONS
 Provide training and direction to
  Election Workers
 Follow Procedures
 Be ready to help
 Be ready to answer questions
 Know when to ask for help
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           ACCESSIBILITY
 What is Accessibility?
 Dictionary definitions:
   Friendly and easy to talk to.
   A place that is able to be
    reached and entered.
   Able to be easily obtained or
    used.
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           ACCESSIBILITY
 How do we assess accessibility?




 Site Surveys
   50 pages, Trained staff, surveying
    equipment
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           ACCESSIBILITY
 Review the physical set-up of your
  voting space:
   Is there enough room for a voter
    using a wheelchair or scooter to
    turn around?
   Are all voters given equal access to
    privacy when voting?
   Are there trip hazards?
   Is lighting sufficient for a voter to
    complete their ballot?
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             ACCESSIBILITY
   Review your WHITE SETUP BINDER
    and check list of temporary measures
    to be used on election day
   Ensure that mitigation measures are
    in place throughout the day
   Be respectful of all voters


   ALL Vote Centers should be on the
    lookout for possible barriers when
    setting up the Vote Center
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           ACCESSIBILITY
 Use simple language when
  speaking with Voters; speak
  directly to the Voter
 Ask the Voter if they need help
  before giving it

 Be uniform in your treatment of
  ALL Voters; Treat ALL Voters
  equally
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           ACCESSIBILITY
 Materials available to support
  accessibility:
   At least 3 ICX Ballot Marking
    Devices
   Accessible voting booths
   Magnifying sheet
   Grip Pens
   Signature Guides
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    LANGUAGE SUPPORT
 English and Spanish Ballots and speaker
  in ALL precincts
 Ballot Translation Guides in eight (8)
  other languages in ALL Vote Centers
 Bilingual speaker in some Vote Centers
 ALL Vote Centers will have a Language
  Table


 BILINGUAL NAME TAG!
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 LANGUAGE SUPPORT
 Telephone Interpreter Services:
   Focus Interpreting
   For use if your assigned language
    support is not available
   Capable of providing translation in
    more than our 8 required languages
   Available at all Vote Centers
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          LANGUAGE SUPPORT

Vote Centers
with Language
Support
Assigned


Chinese – 4
Hmong – 17
Khmer – 2
Korean – 2
Lao – 4
Punjabi – 11
Tagalog – 1
Vietnamese – 1
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     POLL WATCHERS/OBSERVERS
 Poll watchers may “Observe”
 Poll watchers should not be
  interacting with voters in the
  Vote Center
 Poll watchers may NOT
  Interfere
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                                MEDIA
 Media may visit your Vote Center
 Any internal recording must have
  prior permission from the County
  Clerk
 NO filming of voters with
  out express permission
 Exit polls allowed 25’
  from Vote Center exit
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  PHONES AND ELECTRONIC
         DEVICES
 Voters are allowed to take “ballot
  selfies”
 Voters are allowed to have electronic
  devices like tablets or phones to
  assist in completing the ballot
 Observers should not have ANY
  electronic devices in the Vote Center
 Election Workers should only have
  the assigned Vote Center cell phone
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WATCH FOR ELECTIONEERING
 NO political caps, shirts,
  pins, buttons, signs,
  bumper stickers
 NO campaigning within
  100’ of Vote Center entrance
 Applies to items currently on
  the ballot
 Names, Images, Logos
 Contact the Elections Office
  if there is a question
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   SAFETY PRECAUTIONS
 All Vote Centers must take safety
  precautions to protect workers
  and Voters
 Maintain social distancing
 Wear masks always
 Regular cleaning of surfaces and
  equipment
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    SAFETY PRECAUTIONS
 Materials provided:
For the Voters                              For You and the Vote
   Masks                                   Center

   Hand Disinfectants                            Masks
                                                  Hand Disinfectants
                                                  Surface cleaning wipes
                                                  Face Shields
                                                  Sneeze Guards
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   SAFETY PRECAUTIONS
 Everyone in the vote center should
  wear a mask
   ALL workers will wear a mask
   Masks should cover the mouth
    and nose
   Offer a mask to any voter that does
    not bring their own
   You may not turn away a voter for not
    wearing a mask – see hand out
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  SAFETY PRECAUTIONS
 Hand cleaning
  All workers should wash their
   hands or use disinfectant regularly
  Disinfectant stations provided for
   Voters at entrance and exit
  Do not let voters over do
   disinfectant!
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   SAFETY PRECAUTIONS
 Voting Processes
   Use clean pens and secrecy sleeves
   Collect and regularly clean pens and
    secrecy sleeves
   Clean ICX after each voter
   Clean Voting Booths every hour
   Clean Check-in stations every hour
   Clean Check-in Laptops when
    switching workers or end of day
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   SAFETY PRECAUTIONS
 Volunteers
   Assist with line management
   Collect and regularly clean pens and
    secrecy sleeves
   Clean ICX after each voter
   Clean Voting Booths every hour
   Should not handle ballots, may walk
    the line with purple bag
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              QUESTIONS?
